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              ORDERED in the Southern District of Florida on April 27, 2023.




                                                           Paul G. Hyman, Jr., Judge
                                                           United States Bankruptcy Court
_____________________________________________________________________________




                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                                                     CASE NO.: 23-11709-BKC-PGH
                                                                   PROCEEDING UNDER CHAPTER 13

     IN RE:

     IVAN MEIRELES GARCIA

     _____________________________/
     DEBTOR

      ORDER CONTINUING CONFIRMATION HEARING AND MAKING ALL DEBTOR PAYMENTS
                                NON-REFUNDABLE

         THIS CASE came before the court on the Chapter 13 Consent Calendar on April 25, 2023 and based
     on the record it is,

        ORDERED as follows:
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           ORDER CONTINUING CONFIRMATION HEARING AND MAKING ALL DEBTOR PAYMENTS NON-REFUNDABLE
                                                                         CASE NO.: 23-11709-BKC-PGH


  1. The Court shall conduct the Confirmation Hearing on 05/23/2023 at 1:35 pm solely by
     videoconference. To participate in the hearing remotely via Zoom (whether by video or by
     telephone), you must register in advance no later than 3:00 p.m., one business day before the date
     of the hearing.

     To register, click on or enter the following registration link in a browser:
     https://www.zoomgov.com/meeting/register/vJItceGvqjwvGuYOQXCxWlKycEb1w9LKba4

     If a party is unable to register online, please contact Susan Gutierrez, Courtroom Deputy, at
     305-714-1778, or email Susan_Gutierrez@flsb.uscourts.gov.

     All participants must observe the formalities of the courtroom, exercise civility, and otherwise
     conduct themselves in a manner consistent with the dignity of the Court. This includes appropriate
     courtroom attire.

  2. The Debtor is ordered to continue making payments each month to the Chapter 13 Trustee in
     accordance with the last filed Chapter 13 Plan. Failure to continue payments may result in the
     dismissal of this case.

  3. As a condition for the continued confirmation hearing and delay of payments to creditors, all
     payments held by the Chapter 13 Trustee shall be non-refundable and held in trust for the secured
     creditors as adequate protection, and in trust for priority and administrative creditors.

  4. If this case is dismissed or converted, the Trustee shall disburse all funds which were received
     prior to the order of conversion or dismissal and held in trust. The disbursement shall be on a pro
     rata basis, less Trustee fees, to the secured, priority or administrative creditors pursuant to the
     proposed Chapter 13 Plan which was filed at least one day prior to last confirmation hearing date.


                                                 ###

ORDER SUBMITTED BY:

NANCY K. NEIDICH
STANDING CHAPTER 13 TRUSTEE
P.O. BOX 279806
MIRAMAR, FL 33027-9806

COPIES FURNISHED TO:

DEBTOR
IVAN MEIRELES GARCIA
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HIALEAH, FL 33013-1943
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         ORDER CONTINUING CONFIRMATION HEARING AND MAKING ALL DEBTOR PAYMENTS NON-REFUNDABLE
                                                                       CASE NO.: 23-11709-BKC-PGH




ATTORNEY FOR DEBTOR
JOSE BLANCO, ESQUIRE
102 E 49TH ST
HIALEAH, FL 33013

JOSE BLANCO, ESQUIRE IS HEREBY DIRECTED TO MAIL A CONFORMED COPY OF THIS
ORDER TO ALL CREDITORS AND INTERESTED PARTIES IMMEDIATELY UPON RECEIPT
THEREOF.
